 JS 44 (Rev. I 0/20)        Case 2:24-cv-00493-RFB-DJA DocumentSHEET
                                                CIVIL COVER     1-3 Filed 03/12/24 Page 1 of 3
 The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
 provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
 purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
 I. (a) PLAINTIFFS                                                                                       DEFENDANTS
           State of Nevada                                                                               Optum, Inc., et al.
     (b) County of Residence of First Listed Plaintiff       Carson
                                                             City                                        County of Residence of First Listed Defendant
                               (EXCEPT IN U.S. PLAINTIFF CASES)                                                                 (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                         NOTE:   IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                 THE TRACT OF LAND INVOLVED.

     (c)   Attorneys (Firm Name, Address, and Telephone Number)                                          Attorneys (IfKnown)


           See attachment                                                                                See attachment

 II. BASIS OF JURISDICTION @dee an "x" mn one or on)                                       III. CITIZENSHIP OF PRINCIPAL PARTIES Pee an "x"in one Bosfor Pour
                                                                                                     (For Diversity Cases Only)                                     and One Boxfor Defendant)
       U.S. Government             5» Federal Question                                                                        PTF
                                                                                                                               O
                                                                                                                                           DEF                                        PTF
                                                                                                                                                                                      O
                                                                                                                                                                                                DEF
          Plaintiff                     (U.S. Government Not a Party)                          Citizen of This State            I         1       Incorporated or Principal Place
                                                                                                                                                     of Business In This State
                                                                                                                                                                                          4     LI
       U.S. Government
          Defendant
                                   0 4 Diversity
                                            (Indicate Citizenship ofParties in Item II)
                                                                                               Citizen of Another State        (7         D       Incorporated and Principal Place
                                                                                                                                                     of Business In Another State
                                                                                                                                                                                      □         I»
                                                                                               Citizen or Subject of a         03 0 3             Foreign Nation                      I6        DJ6
                                                                                                  Foreign Country
IV. NATURE OF SUITdee an "x"in one or On)                                                                                             Click here for: Nature of Suit Code Descri tions.
           CONTRACT                                        TORTS                                 FORFEITURE/PENALTY                         BANKRUPTCY                     OTHER STATUTES



§
   110 Insurance               PERSONAL INJURY             PERSONAL INJURY        625 Drug Related seizure       [] 422 Appeal 28 USC 158     375 False Claims Act
   120 Marine                 310 Airplane              []365 Personal Injury-          of Property 21 usc 881 [ 423 withdrawal               376 Qui Tam (31 USC
   130 Miller Act             315 Airplane Product             Product Liability  690 Other                             28 USC 157                 3729a))
   140 Negotiable Instrument       Liability            [[367 Health care/                                                                    40o sate Reapportionment
0
0
  150 Recovery of Overpayment

  151 Medicare Act
                              320 Assault, Libel &
       & Enforcement of Judgment   Slander
                              330 Federal Employers'
                                                              Pharmaceutical
                                                              Personal Injury
                                                              Product Liability
                                                                                                                 po7Erne7
                                                                                                                    820 Copyrights
                                                                                                                    830Patent
                                                                                                                                   l
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                                                                                                                                      §       aro Antitrust
                                                                                                                                              430 Banks and Banking
                                                                                                                                              450 Commerce
0 152 Recovery of Defaulted        Liability                       O
                                                          368 Asbestos Personal                                     835 Patent - Abbreviated  460 Deportation
        Student Loans         340 Marine                       Injury Product                                           New Drug Application  470 Racketeer Influenced and
        (Excludes Veterans)   345 Marine Product               Liability         l _] 840 Trademark                                               Corrupt Organizations
0 153 Recovery of Overpayment      Liability                                                  LABOR]
                                                                                              [
                                                         PERSONAL PROPERTY , 88o Defend Trade Secrets                                         480 Consumer Credit
       of Veteran's Benefits  350 Motor Vehicle                    O
                                                          370 Other Fraud         710Fair Labor Standards               Act of2016                 (15 USC 1681 or 1692)
0                                                                  O
                                                                                                                                      §
  I 60 Stockholders' Suits    355 Motor Vehicle           371 Truth in Lending         Act                                                    485 Telephone Consumer
0 190 Other Contract              Product Liability     []38o other Personal      I720 Labor/Management          {"
                                                                                                                 Sr7in             l
                                                                                                                                   so0ii           Protection Act
0 195 Contract Product Liability
                              360 Other Personal              Property Damage           Relations                   861 HIA (1395ft)          490 Cable/Sat TV
0 196 Franchise                   Injury                           O
                                                          385 Property Damage     740 Railway Labor Act             862 Black Lung (923)      850 Securities/Commodities/
                              362 Personal Injury-            Product Liability   751 Family and Medical            863 DIWC/DIWW (405(g))         Exchange
                                  Medical Malpractice                                   Leave Act                   864 SSID Title XVI        890 Other Statutory Actions
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TWnTTToS       EI5oEI                                                               o oner too ties@on           L] sos st aose»              s1A±riswmat Ass
  210 Land Condemnation       440 Other Civil Rights      Habeas Corpus:          791 Employee Retirement                                     893 Environmental Matters
[]220 Foreclosure             441voting                   463 Alien Detainee           Income Security Ac                         ss
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                                                                                                                                  i
                                                                                                                 ;7gr sos Freedom or information
                                                                                                                                      O
§ 230 Rent Lease & Ejectment
  240 Torts to Land
  245 Tort Product Liability
[]290 AII Other Real Property
                              442 Employment
                              443 Housing/
                                  Accommodations
                              445 Amer. w/Disabilities
                                                          510 Motions to Vacate
                                                              Sentence
                                                          530General
                                                          535 Death Penalty
                                                              -1                 7NlCRaTix
                                                                                 {            1
                                                                                                                    870 Taxes (U.S. Plaintiff
                                                                                                                        or Defendant)
                                                                                                                 [] 87 IRS-Third Party
                                                                                                                         26USC 7609
                                                                                                                                                   Act
                                                                                                                                              896 Arbitration
                                                                                                                                              899 Administrative Procedure
                                                                                                                                                  AV/Review or Appeal of
                                  Employment              Other:                  462 Naturalization Application                                  Agency Decision
                              446 Amer. w/Disabilities-   540 Mandamus & Other    465 Other Immigration                                       950 Constitutionality of
                                  Other                   550 Civil Rights             Actions                                                    State Statutes
                              448 Education               555 Prison Condition
                                                          560 Civil Detainee -
                                                              Conditions of
                                                              Confinement
V. ORIGIN Puce an "x" in one Box Only)
1' Original   [? Removed from                                  Remanded from              0 4 Reinstated or 0 5 Transferred from 1 Multidistrict                              0 8 Multidistrict
   Proceeding    State Court
                                                     °         Appellate Court                Reopened          Another District
                                                                                                                          (specify)
                                                                                                                                   Litigation -

                                      Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                                                                                                                                        Transfer
                                                                                                                                                                                     Litigation -
                                                                                                                                                                                     Direct File


VI. CAUSE OF ACTION 28 USC 1442; 21 USC 801 et. seq; 28 USC 1331
                                     Brief description of cause:
                                     Whether duties were owed and breached under the federal Controlled Substances Act.
VII. REQUESTED IN    0 CHECK IF THIS IS A CLASS ACTION                                           DEMAND$                                      CHECK YES only if demanded in complaint:
     COMPLAINT:         UNDER RULE 23, F.R.Cv.P.                                                                                              JURY DEMAND:               _X[yes       Jo
VIII. RELATED CASE(S)
                      (See instructions):
      IF ANY                              JUDGE                                                                                           DOCKET N[JMBER
DATE                                                                   SIGNATURE OF ATTORNEY OF RECORD
March 12, 2024                                                         Ryan T. Gormley
FOR OFFICE USE ONLY

    RECEIPT#                  AMOUNT                                      APPLYING IFP                               JUDGE                               MAG. JUDGE
JS 44 Reverse (Rev. I 0/20)   Case 2:24-cv-00493-RFB-DJA Document 1-3 Filed 03/12/24 Page 2 of 3
                      INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                                Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
         the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county ofresidence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

JI.      Jurisdiction. The basis ofjurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis ofjurisdiction, precedence is given in the order shown below.
         United States plaintiff. (I) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box I or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. I 332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (I) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this hox for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation - Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation - Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statue.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

VII.    Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
        Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
        Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
      Case 2:24-cv-00493-RFB-DJA Document 1-3 Filed 03/12/24 Page 3 of 3




                            Attachment to Civil Cover Sheet

Section I(c) cont’d:

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